           Case 2:20-cr-00110-DOC Document 374 Filed 11/19/21 Page 1 of 6 Page ID #:1490

                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                              Docket No.               LA CR 20-00110-DOC-8

 Defendant            Viet Quoc Tran                                         Social Security No.    6       6     6     7
 akas:    Quoc, Tran Viet; Tran, Viet                                      (Last 4 digits)

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                      MONTH    DAY       YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.         11       19       2021

 COUNSEL                                                                  Alan Eisner, CJA
                                                                             (Name of Counsel)

    PLEA              X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                    NOT
                                                                                                                CONTENDERE                GUILTY
                      There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
  FINDING             Conspiracy to Possess with Intent to Distribute Methamphetamine in violation of 18 U.S.C. §§ 846,
                      841(a)(1), 841(b)(1)(A)(viii) as charged in count ONE of the INDICTMENT.

JUDGMENT              The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/             contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM                that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to
  ORDER               the custody of the Bureau of Prisons to be imprisoned for a term of: 84 MONTHS


            It is ordered that the defendant shall pay to the United States a special assessment of $100,
            which is due immediately. Any unpaid balance shall be due during the period of
            imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of
            Prisons' Inmate Financial Responsibility Program.

            Pursuant to Guideline §5E1.2(a), all fines are waived as the Court finds that the defendant
            has established that he is unable to pay and is not likely to become able to pay any fine.

            The Court recommends that the Bureau of Prisons evaluate the defendant for participation
            in the Bureau of Prisons’ 500-hour Residential Drug Abuse Program (RDAP).

            Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the
            defendant, Viet Quoc Tran, is hereby committed on Count 1 of the 11-Count Indictment to
            the custody of the Bureau of Prisons for a term of 84 months.

            Upon release from imprisonment, the defendant shall be placed on supervised release for
            a term of five (5) years under the following terms and conditions:




CR-104 (docx 12/20)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                             Page 1 of 6
             Case 2:20-cr-00110-DOC Document 374 Filed 11/19/21 Page 2 of 6 Page ID #:1491

 USA vs.      Viet Quoc Tran                                         Docket No.:   LA CR 20-00110-DOC-8



                      1.       The defendant shall comply with the rules and regulations of the United
                               States Probation & Pretrial Services Office and the Second Amended
                               General Order 20-04.

                      2.       The defendant shall not commit any violation of local, state, or federal law
                               or ordinance.

                      3.       During the period of community supervision, the defendant shall pay the
                               special assessment in accordance with this judgment's orders pertaining to
                               such payment.

                      4.       The defendant shall cooperate in the collection of a DNA sample from the
                               defendant.

                      5.       The defendant shall refrain from any unlawful use of any controlled
                               substance. The defendant shall submit to one drug test within 15 days of
                               placement on supervision and at least two periodic drug tests thereafter, not
                               to exceed eight tests per month, as directed by the Probation Officer.

                      6.       The defendant shall participate in an outpatient substance abuse treatment
                               and counseling program that includes urinalysis, breath, and/or sweat patch
                               testing, as directed by the Probation Officer. The defendant shall abstain
                               from using illicit drugs and alcohol and abusing prescription medications
                               during the period of supervision.

                      7.       During the course of supervision, the Probation Officer, with the agreement
                               of the defendant and defense counsel, may place the defendant in a
                               residential drug treatment program approved by the
                               U.S. Probation and Pretrial Services Office for treatment of narcotic
                               addiction or drug dependency, which may include counseling and testing, to
                               determine if the defendant has reverted to the use of drugs. The defendant
                               shall reside in the treatment program until discharged by the Program
                               Director and Probation Officer.

                      8.       As directed by the Probation Officer, the defendant shall pay all or part of
                               the costs of the Court-ordered treatment to the aftercare contractors during
                               the period of community supervision. The defendant shall provide payment
                               and proof of payment as directed by the Probation Officer. If the defendant
                               has no ability to pay, no payment shall be required.

                      9.       The defendant shall comply with the immigration rules and regulations of
                               the United States, and if deported from this country, either voluntarily or
                               involuntarily, not reenter the United States illegally. The defendant is not

CR-104 (docx 12/20)                          JUDGMENT & PROBATION/COMMITMENT ORDER                             Page 2 of 6
             Case 2:20-cr-00110-DOC Document 374 Filed 11/19/21 Page 3 of 6 Page ID #:1492

 USA vs.      Viet Quoc Tran                                        Docket No.:   LA CR 20-00110-DOC-8

                               required to report to the Probation Office while residing outside of the
                               United States; however, within 72 hours of release from any custody or any
                               reentry to the United States during the period of Court-ordered supervision,
                               the defendant shall report for instructions to the United States Probation
                               Office located at 3470 12th Street, Room 145, Riverside, California 92501.

                      10.      The defendant shall not obtain or possess any driver's license, Social
                               Security number, birth certificate, passport or any other form of
                               identification in any name, other than the defendant's true legal name, nor
                               shall the defendant use, any name other than his true legal name without the
                               prior written approval of the Probation Officer.

                      11.      The defendant shall submit his person and property to search or seizure at
                               any time of the day or night by any law enforcement officer with or without
                               a warrant and with or without reasonable or probable cause.

                      12.      The defendant shall report to the United States Probation Office within 72
                               hours of his release from custody.

                      13.      The defendant shall report in person directly to the Court within 21 days of
                               his release from custody, at a date and time to be set by the United States
                               Probation Office, and thereafter report in person to the Court as directed
                               during his first year of supervised release.

                      14.      The defendant shall not possess, have under his control, or have access to
                               any firearm, explosive device, or other dangerous weapon, as defined by
                               federal, state, or local law.

The Court authorizes the Probation Office to disclose the Presentence Report to the substance abuse treatment provider
to facilitate the defendant's treatment for narcotic addiction or drug dependency. Further redisclosure of the Presentence
Report by the treatment provider is prohibited without the consent of the sentencing judge.

The Court recommends that the defendant be housed in a Southern California facility to facilitate visitation with family,
friends, and loved ones.

The Court strongly recommends that the Bureau of Prisons allow the defendant to participate in the Residential Drug
Abuse Program (RDAP) to assist in treating his drug addiction.

On government’s motion, all remaining counts dismissed.

The Court advised the defendant of his right to appeal.




CR-104 (docx 12/20)                         JUDGMENT & PROBATION/COMMITMENT ORDER                                 Page 3 of 6
             Case 2:20-cr-00110-DOC Document 374 Filed 11/19/21 Page 4 of 6 Page ID #:1493

 USA vs.      Viet Quoc Tran                                                             Docket No.:     LA CR 20-00110-DOC-8


 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            November 19, 2021
            Date                                                           Hon. David O. Carter, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                           Clerk, U.S. District Court




            November 19, 2021                                       By     Karlen Dubon         karlen_dubon@cacd.uscourts.gov
            Filed Date                                                     Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local crime;        9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                    engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a                   any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                          by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                        family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the              review and has determined that the restriction is necessary for
       court or probation officer;                                                         protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without         10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;                   not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation                 other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment                   substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;                 11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation                   being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before        12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change                ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                     13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her               enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                    permission of the court;
       any contraband prohibited by law or the terms of supervision and             14.    The defendant must follow the instructions of the probation officer
       observed in plain view by the probation officer;                                    to implement the orders of the court, afford adequate deterrence from
 8.    The defendant must work at a lawful occupation unless excused by                    criminal conduct, protect the public from further crimes of the
       the probation officer for schooling, training, or other acceptable                  defendant; and provide the defendant with needed educational or
       reasons and must notify the probation officer at least ten days before              vocational training, medical care, or other correctional treatment in
       any change in employment or within 72 hours of an unanticipated                     the most effective manner.
       change;




CR-104 (docx 12/20)                                  JUDGMENT & PROBATION/COMMITMENT ORDER                                                             Page 4 of 6
             Case 2:20-cr-00110-DOC Document 374 Filed 11/19/21 Page 5 of 6 Page ID #:1494

 USA vs.      Viet Quoc Tran                                                     Docket No.:     LA CR 20-00110-DOC-8



      The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money
 order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments
 must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.


CR-104 (docx 12/20)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 5 of 6
             Case 2:20-cr-00110-DOC Document 374 Filed 11/19/21 Page 6 of 6 Page ID #:1495

 USA vs.      Viet Quoc Tran                                                    Docket No.:       LA CR 20-00110-DOC-8




                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal

                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




CR-104 (docx 12/20)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 6 of 6
